                   IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF TENNESSEE, AT NASHVILLE

                                                  )
  CABINETS TO GO, LLC,                            )
                                                  )   CASE NO.: 3:21-CV-00711
          Plaintiff,
                                                  )   Honorable Waverly D. Crenshaw, Jr.
  vs.                                             )
                                                  )   Magistrate Judge Jeffrey S. Frensley
  QINGDAO HAIYAN REAL ESTATES                     )
  GROUP CO., LTD et al.,                              JURY DEMAND
                                                  )
          Defendants.                             )


  DEFENDANT VALLEYWOOD’S REPLY IN SUPPORT OF MOTION TO DISMISS


        Defendant Scioto Valley Woodworking, Inc. (“Valleywood”) is not the “alter ego” for its

parent company, Qingdao Haiyan Real Estate Group Co., LTD (“Haiyan”) or any other affiliated

foreign defendant. Plaintiff does not allege any independent acts by Valleywood giving rise to its

claim. The evidence is undisputed that Valleywood and Haiyan are operated as two separate

entities and therefore an alter ego theory against Valleywood on either the exercise of jurisdiction

in Tennessee, or liability in favor of CTG, cannot succeed.

        It is a principle of corporate law deeply “ingrained in our economic and legal systems”

that a parent corporation is not liable for the acts of its subsidiaries. Precision, Inc. v.

Kenco/Williams, Inc., 66 F. App'x 1, 4 (6th Cir. 2003) citing United States v. Bestfoods, 524 U.S.

51, 61, 118 S.Ct. 1876, 141 L.Ed.2d 43 (1998). This principle also protects a subsidiary company

from liability for the acts of its parent or “sister” companies. See Horton, Liability of Corporation

for Torts of Subsidiary, 7 A.L.R.3d 1343, 1349 (1966). Every corporate entity is recognized as

separate and distinct from its stockholders, and to disregard the corporate entities in the case of

parent and subsidiary requires more than simply having similar corporate names, locations, or the


                                                  1

  Case 3:21-cv-00711         Document 68        Filed 03/16/22      Page 1 of 5 PageID #: 328
exercise of dominion through common officers and directors. Cont'l Bankers Life Ins. Co. of the

S. v. Bank of Alamo, 578 S.W.2d 625, 631 (Tenn. 1979). A corporation’s separate form may only

be disregarded if “a court [is] convinced that the separate corporate entity is a sham or a dummy

or that disregarding the separate corporate entity is necessary to accomplish justice.” Nippert v.

Jackson, 860 F.Supp.2d 554, 573 (M.D. Tenn. 2012).

       Piercing the corporate veil is a tool courts employ only in the most limited and narrow

circumstances. Piercing the corporate veil in reverse—that is, holding an entity liable for the acts

of its owner—what CTG seeks from Valleywood here—is significantly more controversial.

Church Joint Venture, L.P. v. Blasingame, 947 F.3d 925, 931 (6th Cir. 2020) (citations omitted).

       A. CTG’s alter ego claim fails to establish jurisdiction in Tennessee over Valleywood.

       In terms of jurisdiction, a subsidiary’s jurisdictional contacts can be imputed to its parent

only when the former is so dominated by the latter as to be its alter ego. Daimler AG v. Bauman,

571 U.S. 117, 134 S.Ct. 746 at 759. Valleywood is not, however, a conduit or instrumentality of,

or dominated by Haiyan. Second Declaration of Jerome Burdock (“2nd Burdock Dec.”) ¶¶ 1-11,

attached as Exhibit 1. Instead, it is an independently operated and run corporation, separate and

distinct from its parent corporation. (Id.) There is no basis for finding that jurisdiction over the

Foreign Defendants, if found, be imputed to Valleywood, and Valleywood lacks any connection

or contacts to Tennessee sufficient for jurisdiction to be exercised independently over it.

       “The fact that the subsidiary is wholly owned by the parent corporation or the fact that the

corporations have the same directors and officers” is insufficient “to show that the two are alter

egos.” Gordon v. Greenview Hosp., Inc., 300 S.W.3d at 652 (citing Bestfoods, 524 U.S. at 69–70;

Adams v. Republic Steel Corp., 621 F.Supp. 370, 375 (W.D.Tenn.1985)). The focus in an alter-

ego theory of personal jurisdiction is whether “the parent corporation ‘exercises complete


                                                 2

  Case 3:21-cv-00711         Document 68        Filed 03/16/22     Page 2 of 5 PageID #: 329
dominion over its subsidiary, not only of finances, but of policy and business practice in respect

to the transaction under attack, so that the corporate entity, as to that transaction, had no separate

mind, will or existence of its own.’” Gordon, 300 S.W.3d at 653 (emphasis added) (citing Cont'l

Bankers Life Ins. Co. of the S., 578 S.W.2d at 632).

        Critically here, CTG does not maintain that Haiyan’s alleged “control” over Valleywood

had any impact on the actions or transactions at issue. Instead, CTG alleges harm based on

Haiyan’s alleged acts, alone. Even if Valleywood was controlled by Haiyan, which Valleywood

disputes,1 this control had no effect on the allegations before this Court, which involve only the

importation of specific cabinets purchased by CTG from the Foreign Defendants. There is no basis

to find Valleywood an alter ego for Haiyan because there is simply no allegation that Valleywood

in any way committed or contributed to any act which injured CTG. CTG never alleges that

Valleywood’s individual actions were fraudulent or caused the Foreign Defendants to act in a way

which harmed CTG, or that Valleywood directly caused CTG harm. Instead, Valleywood has been

named in this litigation solely based on CTG’s misguided belief each of the named entities are

separate “divisions” of Haiyan and are operated as one entity, and in an attempt to access any

potential jurisdictional or judgment streams, without any independent basis for holding

Valleywood liable for the acts alleged. CTG’s claims are wholly insufficient to justify personal

jurisdiction over Valleywood or permit the litigation to proceed against Valleywood in Tennessee.

        B. CTG’s alter ego claim fails to state a plausible claim for relief against Valleywood.

        In its Combined Response in Opposition to Defendants’ Motions to Dismiss, CTG utterly

fails to address or correct the fatal deficiencies in its Complaint against Valleywood. CTG fails to



1
 Nor must the Court rely upon or consider the alleged “Jiao Resume,” Exhibit 3 to Plaintiff’s Combined Response in
Opposition to Defendants’ Motion to Dismiss, to infer any apparent control by Haiyan over Valleywood. The Jiao
Resume is clearly hearsay and lacks any authentication. See Fed. R. Evid. 801, 901.

                                                        3

    Case 3:21-cv-00711          Document 68           Filed 03/16/22        Page 3 of 5 PageID #: 330
allege any specific acts by Valleywood which give rise to any viable claim against it and fails to

address the fact that every one of its factual allegations in its Complaint relates expressly to

Haiyan, alone. As noted in Valleywood’s Motion to Dismiss, CTG alleges:

                 A contract exists between Plaintiff and Haiyan for purchase of product which
                  Haiyan manufactured. (DOC 26 ¶¶ 27, 37),
                 Plaintiff placed the orders at issue with Haiyan, and paid Haiyan. (DOC 26 ¶ 32).
                 All allegations regarding country of origin specifically identify Haiyan as the entity
                  involved in the dispute. (DOC 26 ¶¶ 34-40, 42)

         Further, Plaintiff specifically alleges:

                  Haiyan breached its contract and warranty in violation of the United Nations
                   Convention on Contracts for the International Sale of Goods (“CISG”) (DOC 26
                   ¶¶ 53-59, 66-71);
                  that Haiyan breached its contract and warranty in violation of Tennessee common
                   law (DOC 26 ¶¶ 61-64, 73-77); and
                  that Haiyan’s acts were in violation of the Tennessee Consumer Protection Act
                   (DOC 26 ¶¶ 79-84).

         None of these allegations, even if proven true, support a claim for reverse piercing of the

corporate veil “downhill” to Valleywood, Haiyan’s subsidiary. Piercing the corporate veil, or

liability on an alter ego theory, requires that the improper control alleged over the subsidiary must

have been the proximate cause of injury to the plaintiff. See Cont'l Bankers Life Ins. Co. of the S.

v. Bank of Alamo, 578 S.W.2d 625, 632 (Tenn. 1979). CTG does not allege in the Complaint or

its Declarations any act by Valleywood, whether under Haiyan’s control or not, which affect in

any way, the subject transactions.2

         C.       Conclusion

         For the reasons set for in its Motion to dismiss and above, Valleywood moves this Court

to dismiss the claims in the Amended Complaint pursuant to Rule 12(b)(2), 12(b)(3), or 12(b)(6)



2
  Quite frankly, Valleywood’s involvement and relationship to this matter is wholly irrelevant to the subject matter of
this litigation. From CTG’s repeated mentions, it is abundantly clear Valleywood has been included in this litigation
only for the improper motive by CTG of attempting to force Valleywood’s sale by its parent company.

                                                          4

    Case 3:21-cv-00711            Document 68           Filed 03/16/22          Page 4 of 5 PageID #: 331
of the Federal Rules of Civil Procedure. Alternatively, if the Court does not dismiss Valleywood,

Valleywood respectfully moves this Court for an Order for Plaintiff to provide a more definite

statement of the claims pursuant to Fed. R. Civ. P. 12(e).

                                               Respectfully submitted:

                                               MCANGUS GOUDELOCK & COURIE, LLC

                                               /s/Richard C. Mangelsdorf, Jr.
                                               RICHARD C. MANGELSDORF, JR., 012707
                                               MATT BYRON, 037514
                                               201 4th Avenue N., Suite 1400
                                               Nashville, Tennessee 37219
                                               Phone: (615) 499-7177
                                               Email: chuck.mangelsdorf@mgclaw.com
                                                      Matt.byron@mgclaw.com
                                               ATTORNEYS FOR VALLEYWOOD

                                 CERTIFICATE OF SERVICE
         I hereby certify that a copy of the foregoing document was filed electronically. Notice of
this filing will be sent by operation of the Court’s electronic filing system to all parties indicated
on the electronic filing receipt. All other parties will be served by regular U.S. Mail and/or email.
Parties may access this filing through the Court’s electronic filing system.

      V. Brandon McGrath                                      Charles E. Dorkey, III
      Dentons Bingham Greenebaum, LLP                         Dentons US, LLP
      312 Walnut Street, Suite 2450                           1221 Avenue of the Americas
      Cincinnati, OH 45202                                    New York, NY 10020

      Sarah Laren                                             H. Buckley Cole
      Dentons Bingham Greenebaum, LLP                         Pepper Law, PLC
      300 West Vine Street, Suite 1200                        201 4th Avenue North, Suite 1550
      Lexington, KY 40507                                     Nashville, TN 37219
      Attorneys for Plaintiff

      Samantha A. Lunn
      Madeline Leonard Phifer
      HUSCH BLACKWELL LLP
      736 Georgia Avenue, Suite 300
      Chattanooga, TN 37402
      Attorneys for Foreign National Defendants
This 16th day of March, 2022.                         /s/Richard C. Mangelsdorf, Jr.
                                                      Richard C. Mangelsdorf, Jr.

                                                  5

  Case 3:21-cv-00711         Document 68        Filed 03/16/22      Page 5 of 5 PageID #: 332
